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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               )
 KATHERINE DANIELA PACHECO                     )
 QUIROS, et al.,                               )
                                               )
               Plaintiffs,                     )
                                               )
         v.                                    )
                                                        Civil Action No. 21-2433 (CKK)
                                               )
 MOLLY AMADOR, Deputy Consul General           )
 and Visa Unit Chief, U.S. Embassy in Costa    )
 Rica, et al.,                                 )
                                               )
               Defendants.                     )
                                               )

                                  [PROPOSED] ORDER

        UPON CONSIDERATION of Defendants’ motion to dismiss, and the entire record herein,

it is hereby

        ORDERED that Defendants’ motion is GRANTED; and it is further

        ORDERED that this action is DISMISSED.



SO ORDERED:



________________                                   ___________________________________
Date                                               COLLEEN KOLLAR-KOTELLY
                                                   United States District Judge
